        Case 1:13-cv-00156-JHM-HBB Document 11 Filed 12/12/13 Page 1 of 2 PageID #: 99




                              United States District Court
                     WESTERN                         DISTRICT OF                  KENTUCKY_____________
                                                AT BOWLING GREEN


        United States of America                                 SUMMONS IN A CIVIL CASE
                                                                 CASE NUMBER: 1:13CV-156-M

                         v.


        Christine S. Rohrer, et al.



        TO:     (Name & Address of Defendant)

                LVNV Funding LLC
                c/o James T. Hart, Attorney
                525 Vine Street
                Suite 800
                Cincinnati, OH 45202


        YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name & address)

                         Michael F. Spalding, Assistant U.S. Attorney
                         United States Attorney's Office
                         717 West Broadway
                         Louisville, KY 40202


an answer to the complaint which is herewith served upon you, within        twenty-one (21)       days after service of
this
 his summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against
you for the relief demanded in the complaint.
                                      co      You must also file your answer with the Clerk of this Court within a
 easonable perio
reasonable      od off ttime
            period       i e after servic
                         im        service.



__________
        _ _______
               ____
                 _______
                      ____
                         _______
__________________________________                                          December 12, 2013
                                                                         ___________________________________
CLERK                                                                    DATE




s/ Celia D. Russell, D
                     D.C.
_____________________________________
_________________________________
(BY)
 BY) DEPUTY CLERK
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                                                 RETURN OF SERVICE

                                                              1       Date
     Service of the Summons and Complaint was made by me
     Name of Server (Print)                                           Title

             Check one box below to indicate method of service



 ‫܆‬           Served personally upon the defendant. Place where served:
             ______________________________________________________________________________________


 ‫܆‬           Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age
 and
             discretion then residing therein. Name of person with whom the summons and complaint were left:
             ______________________________________________________________________________________
             ______________________________________________________________________________________

 ‫܆‬           Returned unexecuted:
             ______________________________________________________________________________________
             ______________________________________________________________________________________
             ______________________________________________________________________________________


 ‫܆‬           Other (specify):
             ______________________________________________________________________________________
             ______________________________________________________________________________________
             ______________________________________________________________________________________



                                               STATEMENT OF SERVICE FEES

     Travel N/A                                 Services                                    Total

                                                  DECLARATION OF SERVER

         I declare under penalty of perjury under the laws of the United States of America that the
 foregoing information contained in the Return of Service of Service Fees is true and correct.


 Executed on           __________________________                         _______________________________________
                       Date                                               Signature of Server




 1
             As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure
